    Case 6:05-cr-06048-DGL-JWF           Document 59       Filed 07/02/08    Page 1 of 1




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                    Plaintiff,

                                                                 DECISION AND ORDER

                                                                 05-CR-6048L

                     v.

ONOVAL PEREZ,



                              Defendant.
________________________________________________


       Defendant, Onoval Perez, moves for an adjustment of his sentence based on the harsh

consequences to him because he is a deportable alien (Dkt. # 57). The motion is in all respects

denied. Defendant’s motion for appointment of counsel (Dkt. # 58) is denied as moot.

       IT IS SO ORDERED.



                                    _______________________________________
                                             DAVID G. LARIMER
                                           United States District Judge


Dated: Rochester, New York
       July 2, 2008
